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   7
   8                       UNITED STATES DISTRICT COURT
   9                     SOUTHERN DISTRICT OF CALIFORNIA
  10 BROOKS ENTERTAINMENT, INC.,                CASE NO. 3:21-CV-02003-TWR-MDD
  11                           Plaintiff,
                                               MEMORANDUM OF POINTS AND
  12              v.                           AUTHORITIES IN SUPPORT OF
                                               DEFENDANT ROCKSTAR GAMES,
  13 ACTIVISION BLIZZARD, INC., AND            INC.’S NOTICE OF MOTION AND
     ROCKSTAR GAMES, INC.,                     MOTION TO DISMISS UNDER RULE
  14                                           12(B)(6) OR, IN THE ALTERNATIVE,
                       Defendants.
  15                                           FOR A MORE DEFINITE
                                               STATEMENT UNDER RULE 12(E)
  16
  17                                           [Notice of Motion, Declaration of Craig
                                               B. Whitney, Request for Judicial Notice,
  18                                           and [Proposed] Order Filed Concurrently
                                               Herewith]
  19
  20                                           Date: April 20, 2022
  21                                           Time: 1:30 p.m. rd
                                               Courtroom: 3A (3 Floor)
  22                                           Judge: The Hon. Todd W. Robinson

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  28                                                        CASE NO. 3:21-CV-02003
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   1                MEMORANDUM OF POINTS AND AUTHORITIES
   2         Defendant Rockstar Games, Inc. (“Rockstar”) respectfully submits this
   3 memorandum of points and authorities in support of its Motion to Dismiss pursuant
   4 to Federal Rule of Civil Procedure (“Rule”) 12(b)(6) or, in the alternative, Motion for
   5 a More Definite Statement pursuant to Rule 12(e) (the “Motion”).
   6 I.      PRELIMINARY STATEMENT
   7         Plaintiff Brooks Entertainment, Inc. (“Brooks”) asserts claims against
   8 Rockstar for trademark infringement, copyright infringement, and commercial
   9 appropriation of likeness all based on the world-famous Call of Duty video game
  10 series. Rockstar, however, does not control Call of Duty. It does not develop Call of
  11 Duty. It does not publish Call of Duty and, therefore, earns no revenue whatsoever
  12 from the game. In short, Rockstar has nothing to do with Call of Duty.
  13         Call of Duty is the property of Rockstar’s competitor (and co-defendant),
  14 Activision Blizzard, Inc. (“Activision”). Rockstar and Activision have no connection
  15 to one another—a readily ascertainable fact supported by the Complaint. Activision
  16 is a publicly traded company and Rockstar is the wholly-owned subsidiary of another
  17 publicly traded company, Take-Two Interactive Software, Inc. (“Take-Two”),
  18 Activision’s competitor in the video game industry. Yet, Brooks lumps these two
  19 separate entities together as “Defendants” throughout the Complaint and falsely
  20 attributes acts concerning Call of Duty—which is solely within Activision’s
  21 domain—to Rockstar through unsupported group pleading. In the limited instances
  22 where Brooks refers to Rockstar directly, as in its allegation that “Activision along
  23 with Rockstar . . . develop[ed] this infringing game” (Compl. ¶ 21), such assertions
  24 would have been disproven by even the barest pre-filing investigation. There is no
  25 specific, supported allegation that Rockstar had any role in developing Call of Duty
  26 or, more importantly, that Rockstar publishes, promotes, sells, or has any control
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   1 over Call of Duty sufficient to sustain a cause of action against Rockstar for
   2 trademark infringement, copyright infringement, or commercial appropriation of
   3 likeness. Accordingly, Brooks’s claims against Rockstar must be dismissed.
   4         In addition, any claims against Rockstar would be barred by the applicable
   5 statutes of limitations in any event. In the lone paragraph in the Complaint where
   6 Brooks specifically alleges an action involving Rockstar, it states that it “was talking
   7 to” Rockstar to create a game “[f]rom 2010 and through 2015.” (Id. ¶ 19.) But the
   8 limitations periods for Brooks’s claims range from two to four years, and the last
   9 alleged act involving Rockstar occurred over six years ago. Even crediting the only
  10 other allegation vaguely naming Rockstar—where, as noted above, Activision
  11 allegedly developed Call of Duty “along with Rockstar,” which was “released to the
  12 public” in 2016 (id. ¶ 21)—that is still well beyond the applicable limitations period
  13 for Brooks’s claims.
  14         Alternatively, Brooks must provide a more definite statement of the basis for
  15 its claims against Rockstar. If Brooks possesses information to support its
  16 allegations—that Rockstar had an undisclosed role in developing and publishing one
  17 of the most well-known video game franchises with its direct industry competitor—it
  18 must plead it sufficiently as to each defendant. Brooks cannot satisfy Rule 8 through
  19 improper group pleadings.
  20         Finally, the claims against Rockstar should be dismissed for all of the reasons
  21 set forth in Activision’s motion to dismiss as well, which would apply equally to
  22 Rockstar given Brooks’s group pleading.
  23         For the reasons set forth above and detailed below, this Court should dismiss
  24 Brooks’s Complaint with prejudice and without leave to amend.
  25
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   1 II.     RELEVANT FACTUAL ALLEGATIONS
   2         As alleged in the Complaint, Brooks is a financial and entertainment
   3 consultant corporation formed in 2002 by Shon Brooks. (Id. ¶ 9.) The company
   4 purports to help customers “build their financial empire safely” and to host a TV
   5 show aimed at encouraging “youth to take control of their destiny and become
   6 successful adults.” (Id.)
   7         As part of these efforts, Brooks creates “content, a platform, concepts, and
   8 graphics for interactive video games” aimed at the youth market. (Id. ¶ 12.) Two of
   9 these proposed video games, Stock Picker and Save One Bank, are educational
  10 games designed to teach children about financial management and banking. (Id.)
  11         Defendants Rockstar and Activision are independent companies and
  12 competitors. (Id. ¶¶ 6-7.) Activision is a Delaware corporation with its principal
  13 place of business in Santa Monica, California. (Id. ¶ 6.) Rockstar, a subsidiary of
  14 Take-Two, is a Delaware corporation with its principal place of business in New
  15 York City. (Id. ¶ 7.) There is no allegation that Rockstar and Activision have any
  16 corporate relationship.
  17         Nor could there be. Judicially noticeable public filings make clear that
  18 Rockstar and Activision are separate companies competing in the video game
  19 industry, and that Call of Duty is an Activision franchise.1 Activision is a publicly
  20 ____________________
  21 1 See Northstar Financial Advisors Inc. v. Schwab Investments, 779 F.3d 1036, 1043
  22 (9th Cir. 2015) (concluding that “[i]t is appropriate to take judicial notice of”
     information that “was made publicly available by the SEC”); Metzler Inv. GMBH v.
  23 Corinthian Colleges, Inc., 540 F.3d 1049, 1064 n.7 (9th Cir. 2008) (SEC filings are
  24 properly subject to judicial notice); In re Toyota Motor Corp., 785 F. Supp. 2d 883,
     902 (C.D. Cal. 2011) (courts may take “judicial notice of public documents,”
  25 including “SEC filings”). Rockstar has submitted a Request for Judicial Notice of
  26 these documents concurrently herewith.
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   1 traded company with several major subsidiaries, none of which include Rockstar.
   2 (See Declaration of Craig Whitney (“Whitney Decl.”), Ex. 1 at ex. 21.1 (listing major
   3 subsidiaries).) Activision’s Form 10-K repeatedly mentions Call of Duty, its “key
   4 product franchise,” throughout. (Id. at 4.) Rockstar, by contrast, is the wholly-
   5 owned subsidiary of Take-Two, as confirmed in Take-Two’s SEC filings. (See
   6 Whitney Decl., Ex. 2 at ex. 21.1 (listing subsidiaries).) Indeed, within the first ten
   7 pages of its Form 10-K, Take-Two states that Rockstar is its “wholly-owned
   8 publisher” (id. at 3) and that Activision is one of its “competitors” (id. at 5), which
   9 Take-Two has included in its annual filings since at least 2004. (See, e.g., Whitney
  10 Decl., Ex. 3 at 7.) Notably, there is no mention of Call of Duty in any Take-Two
  11 Form 10-K.
  12         Brooks alleges that, between 2010 and 2015, it “was talking to” Blizzard,
  13 Activision, and Rockstar to create a videogame. (Compl. ¶ 19.) Brooks claims to
  14 have been involved in “meetings and emails” with two individuals at Rockstar: Sarah
  15 Shafer and Sam Houser. (Id.) Rockstar is aware of only a single communication,
  16 directed at Mr. Houser, the company’s co-founder and president. That
  17 communication, which is referenced and relied on in the Complaint and may
  18 therefore be considered on this motion to dismiss, is telling.2
  19         It is an unsolicited email to Rockstar’s president from Brooks’s “publicist” in
  20 late 2014. (Whitney Decl., Ex. 4.) Contrary to Brooks’s suggestion of an ongoing,
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       ____________________
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       2
       Davis v. HSBC Bank Nevada, N.A., 691 F.3d 1152, 1160 (9th Cir. 2012) (Even if a
  23 document is not attached to a complaint, it may be incorporated by reference into a
  24 complaint if the plaintiff refers to the document or the document forms the basis of
     the plaintiff’s claim); In re Toyota Motor Corp., 785 F. Supp. 2d at 902 (“[C]ourts
  25 may take judicial notice of documents incorporated by reference in the operative
  26 complaint.”).
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    1 multi-year pitch and negotiation process, this email makes clear that Brooks had not
    2 heard back from Rockstar regarding its “media package.” (Id.) No information
    3 regarding the substance of this media package is disclosed in this email and it is plain
    4 that Mr. Houser has never interacted with Brooks. (Id.) There is also no indication
    5 that Mr. Houser had even read this unsolicited email, much less responded to it. This
    6 communication nevertheless comprises almost the entirety of Brooks’s specific
    7 allegations relating to Rockstar in the Complaint.
    8         Brooks’s only other mention of Rockstar is the vague and unsupported
    9 statement that “Activision along with Rockstar” developed Call of Duty: Infinite
   10 Warfare. (Compl. ¶ 21 (emphasis added).) Throughout the rest of the Complaint,
   11 Brooks groups Rockstar and Activision as “Defendants” and, as a result, makes
   12 numerous false allegations regarding Rockstar pertaining to the creation, distribution,
   13 and sale of Call of Duty.
   14         With no further basis, Brooks sued Rockstar for federal trademark
   15 infringement, copyright infringement, and commercial appropriation of likeness.
   16 (Id. ¶ 1.) These claims lack merit and must be dismissed.
   17 III.    ARGUMENT
   18         To survive a motion to dismiss under Rule 12(b)(6), “a complaint must
   19 contain sufficient factual matter, accepted as true, to ‘state a claim to relief that is
   20 plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (citation
   21 omitted). Although the Court “accept[s] factual allegations in the complaint as true
   22 and construe[s] the pleadings in the light most favorable to the nonmoving
   23 party,” Manzarek v. St. Paul Fire & Marine Ins. Co., 519 F.3d 1025, 1031 (9th Cir.
   24 2008), the Court is “not bound to accept as true a legal conclusion couched as a
   25 factual allegation,” Iqbal, 556 U.S. at 678 (citation omitted). Nor is the Court
   26 “required to accept as true allegations that contradict exhibits attached to the
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    1 Complaint or matters properly subject to judicial notice, or allegations that are
    2 merely conclusory, unwarranted deductions of fact, or unreasonable
    3 inferences.” Daniels-Hall v. Nat’l Educ. Ass’n, 629 F.3d 992, 998 (9th Cir. 2010).
    4 For a complaint to survive a motion to dismiss, “the non-conclusory factual content,
    5 and reasonable inferences from that content, must be plausibly suggestive of a claim
    6 entitling the plaintiff to relief.” Moss v. U.S. Secret Serv., 572 F.3d 962, 969 (9th
    7 Cir. 2009).
    8           Alternatively, Rule 12(e) provides litigants with a means to obtain a more
    9 definite statement when a complaint is “so vague and ambiguous” the defendant
   10 cannot reasonably be required to frame a responsive pleading. Proline Concrete
   11 Tools, Inc. v. Dennis, No. 07cv2310-LAB (AJB), 2008 WL 11286077, at *2 (S.D.
   12 Cal. 2008). Rule 12(e) is read in conjunction with Rule 8(a)(2), which requires “a
   13 short and plain statement of the claim showing that the pleader is entitled to relief”
   14 that provides fair notice to the defendant of the allegations against it. Id. (quoting
   15 Rule 8(a)(2)); see also Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007) (the
   16 pleading standards in Rule 8(a)(2) require “a short and plain statement . . . in order to
   17 give the defendant fair notice of what the . . . claim is and the grounds upon which it
   18 rests”). When a complaint fails to provide the notice required by Rule 8(a)(2), the
   19 court may dismiss it or compel a more definite statement under Rule 12(e). See Four
   20 Navy Seals v. Associated Press, 413 F. Supp. 2d 1136, 1147 (S.D. Cal. 2005).
   21      A.      The Complaint Should Be Dismissed For Failure to State A Claim
   22              1.     Brooks Fails to Plead Sufficient Facts Against Rockstar to
   23                     Establish a Copyright Infringement, Trademark Infringement,
   24                     or Misappropriation of Likeness Claim
   25           The few specific facts alleged against Rockstar fail to state a claim for relief.
   26 The Complaint contains only two allegations that explicitly mention Rockstar. The
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    1 first asserts that Brooks was in contact with two Rockstar employees at some point
    2 between 2010 and 2015—over six years ago, at a minimum. (Compl. ¶ 19.) During
    3 these non-specific “talks and meetings,” Brooks alleges that it “provided Defendants
    4 with the content, script, proposal, images and details for” Save One Bank and Stock
    5 Picker. (Id. ¶ 20.)3 The only other allegation referencing Rockstar asserts that
    6 Activision “along with Rockstar” used content provided by Brooks to develop “Call
    7 of Duty: Infinite Warfare” in 2016. (Id. ¶ 20.) Brooks fails to provide any basis,
    8 however, to support how Rockstar purportedly acted “along with” its competitor
    9 Activision, who was continuing to develop its Call of Duty franchise. Regardless,
   10 neither of these allegations—the only ones specifically naming Rockstar—plausibly
   11 state claims against Rockstar for copyright infringement, trademark infringement, or
   12 commercial appropriation of likeness.
   13         To plead a prima facie case of copyright infringement, a party must plausibly
   14 allege two requirements: (1) ownership of the allegedly infringed material and
   15 (2) that the alleged infringers violate at least one exclusive right granted to copyright
   16 holders. See A&M Records v. Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001).
   17 Here, Brooks cannot plausibly demonstrate that Rockstar infringed any of its five
   18 exclusive rights—reproduction, distribution, public performance, public display, and
   19 the creation of derivative works (17 U.S.C. § 106)—in Save One Bank or Stock
   20 Picker.
   21         The allegation that Brooks sent its own copyrightable materials to Rockstar
   22 employees does not violate any protectable copyright interest. (Compl. ¶¶ 19-20.)
   23 ____________________
        3
   24  As noted above, a review of the correspondence with Sam Houser referenced in the
      Complaint makes clear that Rockstar was not involved in any “meetings” with
   25 Brooks, nor did that correspondence forward anything other than internet links to
   26 public documents. (Whitney Decl., Ex. 4.)
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    1 And, again, the Complaint lacks any plausible allegations that Rockstar, as opposed
    2 to Activision, produced or distributed Call of Duty. An unsupported allegation that
    3 Activision developed the game “along with” Rockstar is insufficient. In fact,
    4 judicially noticeable public filings, like Activision’s Form 10-K filing with the SEC,
    5 establish that Activision develops, distributes, and profits from Call of Duty. (See
    6 Whitney Decl., Ex. 1.) Take-Two, Rockstar’s parent company, makes no mention of
    7 Call of Duty in its Form 10-K filings, including in 2016 and 2017 when, according to
    8 the Complaint, Rockstar was purportedly developing and releasing Call of Duty:
    9 Infinite Warfare “along with” Activision. (Id., Exs. 5-6.) The Complaint contains no
   10 allegation of how Rockstar purportedly “copied the Brooks Registered Copyrights”
   11 (Compl. ¶ 42) sufficient to state a claim against Rockstar for copyright infringement.
   12         For the same reasons, Brooks cannot state a claim for trademark infringement
   13 or misappropriation of likeness. To state a trademark infringement claim under the
   14 Lanham Act, Brooks must show that (1) it has a valid, protectable mark, and
   15 (2) Rockstar’s use of the mark is likely to cause consumer confusion. See OTR
   16 Wheel Engineering, Inc. v. West Worldwide Services, Inc., 897 F.3d 1008, 1022 (9th
   17 Cir. 2018). For commercial appropriation of likeness under Cal. Civ.
   18 Code § 3344(a), Brooks must demonstrate that Rockstar used plaintiff’s identity and
   19 that the appropriation of plaintiff’s identity was to Rockstar’s advantage, among
   20 other requirements, to establish a claim. See Havensight Capital LLC v. Nike, Inc.,
   21 No. CV 14-7153-R, 2015 WL 12832061, at *1 (C.D. Cal. 2015).4 Because Brooks
   22 does not adequately plead that Rockstar distributes or sells Call of Duty, there is
   23 ____________________
        4
   24  The elements of a right of publicity claim are: (1) the defendant’s use of the
      plaintiff’s identity; (2) the appropriation of plaintiff’s name or likeness to defendant’s
   25 advantage, commercially or otherwise; (3) lack of consent; and (4) resulting injury.
   26 Id. (citing Newcombe v. Adolf Coors Co., 157 F.3d 686, 692 (9th Cir. 1998)).
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    1 likewise no allegation that Rockstar uses the “SHON BROOKS” trademark in Call
    2 of Duty or that Rockstar uses “the name, likeness and persona of Shon Brooks” in
    3 Call of Duty. All three causes of action fail due to the absence of any plausible
    4 connection between Rockstar and the allegedly infringing game.
    5            2.     Brooks’s Claims Are Barred By the Statutes of Limitations
    6         Brooks’s claims against Rockstar—even if they were sufficiently pled—would
    7 also be barred by the applicable statutes of limitations. Brooks pled that its
    8 communications with Rockstar terminated in 2015 (Compl. ¶ 20) and that Rockstar
    9 in some way assisted Activision with the release of Call of Duty: Infinite Warfare in
   10 2016. (Id. ¶ 21.) Thus, the latest infringing act that Brooks attributes to Rockstar
   11 occurred over five years ago. Any claims based on that conduct are untimely.
   12         The statute of limitations for copyright infringement is three years from the
   13 date the claim accrued. See 17 U.S.C. § 507(b); In re Napster, Inc. Copyright Litig.,
   14 No. C MDL-00-1369, 2005 WL 289977, at *3 (N.D. Cal. Feb. 3, 2005). In the Ninth
   15 Circuit, a claim for copyright infringement “accrues when one has knowledge of a
   16 violation or is chargeable with such knowledge.” Roley v. New World Pictures,
   17 Ltd., 19 F.3d 479, 481 (9th Cir. 1994). The last act that the Complaint alleges in
   18 which Rockstar somehow specifically participated was the game’s 2016 release.
   19 Brooks cannot argue that he had no knowledge of the release given its repeated
   20 assertions that a “Sean Brooks” was the “main character” (Compl. ¶¶ 19, 25, 26(d),
   21 31, and 56), that the character used his “likeness, persona and name” (id. ¶ 23) and,
   22 especially, that the “amount of Call of Duty product and advertising in the stream of
   23 commerce” was “extensive.” (Id. ¶ 57.) Therefore, any copyright claim against
   24 Rockstar related to Rockstar’s alleged (albeit falsely pled) involvement in Call of
   25 Duty accrued—at the latest—in 2016. The claim therefore expired three-years later
   26 in 2019.
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    1         Brooks fares no better on its trademark infringement and misappropriation of
    2 likeness claims. Because there is no statute of limitations for federal trademark
    3 claims, courts look to the analogous state statute of limitations, which in this case are
    4 state trademark infringement and dilution claims under Cal. Bus. & Prof. Code
    5 §§ 14330 and 14335. See Miller v. Glenn Miller Productions, Inc., 454 F.3d 975,
    6 997 n.11 (9th Cir. 2006). The California statute of limitations for state trademark
    7 infringement and dilution claims is four years. See Cal. Code Civ. Proc. §§ 337, 343;
    8 Miller, 454 F.3d at 997 n.11. And California’s statutory right of publicity claims,
    9 Cal. Civ. Code § 3344, are subject to a two-year statute of limitations. See Yeager v.
   10 Bowlin, 693 F.3d 1076, 1081 (9th Cir. 2012). Neither of those statutes provide
   11 viable claims based on alleged conduct that ended in 2016.
   12         Accordingly, Brooks’s claims against Rockstar are barred by the applicable
   13 statutes of limitations and should be dismissed.
   14            3.     The Complaint Relies On Improper “Group Pleading”
   15         Emblematic of Brooks’s lack of evidence or reasonable belief that Rockstar
   16 had anything to do with Call of Duty, throughout the Complaint, Brooks engages in
   17 improper “group pleading” that attributes allegations against Activision to Rockstar
   18 without distinguishing between or identifying the separate acts of the two
   19 competitors. This is an independently sufficient basis to dismiss the Complaint.
   20         To satisfy Rule 8(a), a complaint must “give the defendant fair notice of what
   21 the claim is and the grounds upon which it rests.” Twombly, 550 U.S. at 555
   22 (citation omitted). It is well established that a complaint fails to satisfy Rule 8(a)
   23 where it fails to sufficiently differentiate its allegations among defendants.
   24 See Sekerke v. City of National City, No. 19cv1360-LAB (MSB), 2020 WL 4435416,
   25 at *4 (S.D. Cal. 2020); Corazon v. Aurora Loan Servs., LLC, No. 11-00542 SC, 2011
   26
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    1 WL 1740099, at *4 (N.D. Cal. May 5, 2011) (“Undifferentiated pleading against
    2 multiple defendants is improper.”).
    3         In Corazon, for example, the court dismissed a complaint that “lump[ed]”
    4 defendants together “in nearly all” of the allegations regarding her residential
    5 mortgage loan dispute because a defendant cannot “be require[d] to guess which
    6 allegations pertain to it.” 2011 WL 1740099, at *4. “By failing to differentiate
    7 among defendants or specify which defendant is the subject of Plaintiff’s various
    8 allegations,” the complaint violated Rule 8(a)(2) by failing to provide Defendant
    9 with sufficient notice of “its alleged misconduct.” Id.
   10         Similarly, in Sekerke v. City of National City, the court dismissed the
   11 complaint for group pleading. 2020 WL 4435416, at *5. The court held that
   12 complaint violated “Rule 8 because it fail[ed] to identify” which of the “Individual
   13 Defendants performed each act in the complaint.” Id. “When all defendants are
   14 lumped together in factual allegations,” as Brooks does here, the pleading fails to
   15 allege a claim against any individual defendant. Id.
   16         Brooks repeatedly groups Activision and Rockstar together and refers to them
   17 as if they were a single entity. While the Complaint contains two allegations that
   18 vaguely reference Rockstar’s conduct, neither of which suggests any improper
   19 activity, it contains approximately sixty allegations regarding “Defendants’” conduct
   20 as a purported unit. This is not an accident. Brooks deliberately makes factual
   21 allegations about “Defendants’” conduct to obfuscate that the allegations of
   22 infringement pertain only to Activision.
   23         Brooks takes this practice to an extreme. For example, Brooks alleges that:
   24         - “In 2016 the ‘Call of Duty: Infinite Warfare’ (‘Call of Duty’) game was
   25            released to the public by Defendants,” (Compl. ¶ 21 (emphasis added));
   26
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    1         - “Defendants have released a series of games which are based on the
    2            original ‘Call of Duty’ game,”5 (id. ¶ 24) (emphasis added);
    3         - “Sean Brooks . . . is the main character in Defendants’ gambling platform
    4            which contains all of Defendants’ games on e-subscription,” (id. ¶ 25)
    5            (emphasis added); and
    6         - “Defendants also conduct global esports playoffs and championships
    7            utilizing the Call of Duty Games,” (id. ¶ 26) (emphasis added), to name a
    8            few.
    9         But Activision and Rockstar—well-known competitors in the videogame
   10 industry—do not plausibly share a “gambling platform” that contains all of their
   11 competing games. Nor did they jointly release Call of Duty or conduct global esports
   12 playoffs and championships utilizing Call of Duty. Indeed, Brooks concedes that
   13 there is an “extensive amount of Call of Duty product and advertising in the stream
   14 of commerce.” (Id. ¶ 57.) It is implausible that Rockstar could have such a
   15 meaningful and ongoing involvement in the multi-billion dollar Call of Duty
   16 franchise without a single reference to it in any public SEC filing or anywhere else—
   17 ever. Brooks cannot simply group Rockstar with Activision and state a cause of
   18 action against Rockstar on the basis of Activision’s purported conduct. Given the
   19 multitude of undifferentiated allegations in the Complaint that cannot plausibly refer
   20 to both Defendants, the Complaint must be dismissed for failure to state a claim.
   21         Brooks is far from the first plaintiff to try this type of shotgun pleading in a
   22 multi-defendant case. But efforts to hide deficient allegations through “group
   23 pleading” have been roundly rejected by federal courts in California and across the
   24
        ____________________
   25   5
       Interestingly, in the next sentence of that paragraph, Brooks acknowledges that the
   26 game “Call of Duty WARZONE” was released solely by Defendant Activision. Id.
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    1 country. See, e.g., In re Zinc Antitrust Litig., 155 F. Supp. 3d 337, 383-84 (S.D.N.Y.
    2 2016) (dismissing claims because “Rule 8 provides that a defendant is entitled to
    3 notice of the claims brought against him” and thus “Plaintiffs must be able to
    4 separately state a claim against each and every defendant joined in this lawsuit”);
    5 Eunice v. U.S., No. 12cv1635-GPC(BGS), 2013 WL 756168, at *3 (S.D. Cal. Feb.
    6 26, 2013) (dismissing cause of action that lumped together factual allegations against
    7 defendants because such pleading does not provide sufficient notice of the basis for
    8 the allegations); In re iPhone Application Litig., No. 11-MD-02250-LHK, 2011 WL
    9 4403963, at *8 (N.D. Cal. Sept. 20, 2011) (complaint must “identify what action
   10 each Defendant took that caused Plaintiffs’ harm, without resort to generalized
   11 allegations against Defendants as a whole” so that each defendant can respond); In re
   12 Sagent Technology, Inc., Derivative Litig., 278 F. Supp. 2d 1079, 1094–95 (N.D.
   13 Cal. 2003) (a complaint that “lumps together” defendants, where not all defendants
   14 were involved for the entire period of events, fails to satisfy Rule 8).
   15         Rockstar and Activision are unrelated entities and Rockstar is entitled to fair
   16 notice of the allegations against it—particularly when the entire Complaint is based
   17 on allegedly infringing elements of the Call of Duty video game that has nothing to
   18 do with Rockstar. Brooks fails to identify Rockstar’s specific role in causing any
   19 alleged harm. Instead, the Complaint repeatedly groups Rockstar with Activision (as
   20 “Defendants”) in connection with Call of Duty without stating a separate, plausible
   21 basis for its assertions against Rockstar. Whether the result of a failure to investigate
   22 under Rule 11 or a conscious attempt to conflate the two defendants, this group
   23 pleading serves to hide the lack of any claim against Rockstar. Furthermore, the
   24 improper pleading makes it nearly impossible for Rockstar to respond meaningfully
   25 to Brooks’s unstated and misguided allegations, confounding even a filing such as
   26
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    1 this Motion. The Complaint should therefore also be dismissed on this additional
    2 basis.
    3               4.     The Complaint Should Also Be Dismissed For the Reasons
    4                      Enumerated in Activision’s Brief
    5          In addition to the reasons set forth above, Brooks’s claims against Rockstar
    6 should also be dismissed on the same grounds articulated by Activision in its motion
    7 to dismiss. First, Brooks’s claim that Call of Duty infringes its trademark in the
    8 word SHON BROOKS is barred by the First Amendment. See Brown v. Elec. Arts,
    9 Inc., 724 F.3d 1235, 1241 (9th Cir. 2013); Rogers v. Grimaldi, 875 F.2d 994, 1000-
   10 01 (2d Cir. 1989). Second, Brooks’s copyright infringement allegations fail to
   11 plausibly plead that Call of Duty is substantially similar to Brooks’s purported work.
   12 See Wild v. NBC Universal, Inc., 513 F. App’x 640, 642 (9th Cir. 2013); Zella v.
   13 E.W. Scripps Co., 529 F. Supp. 2d 1124, 1128 (C.D. Cal. 2007). Third, Brooks fails
   14 to plausibly plead that the Call of Duty character Sean Brooks (the space soldier) is
   15 based upon, incorporates, includes, or otherwise uses in any manner the “name,
   16 image, or likeness” of Shon Brooks (the financial consultant). See Aguilar v.
   17 Universal City Studios, Inc., 174 Cal. App. 3d 384, 391 (Ct. App. 1985).
   18          Accordingly, Rockstar incorporates the arguments advanced in Activision’s
   19 motion to dismiss as if fully set forth herein, and the Complaint should be dismissed
   20 for those additional reasons as well.
   21          B.        Alternatively, the Court Should Grant Rockstar’s Motion for a
   22                    More Definite Statement Under Rule 12(e)
   23          Alternatively, if the Court does not outright dismiss Brooks’s Complaint—
   24 notwithstanding its defective allegations and the fact it is barred by both applicable
   25 law and the relevant statutes of limitations—then Rockstar moves for a more definite
   26 statement sufficient to cure Brooks’s defective “group pleading” discussed above.
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    1 Rule 12(e) is an appropriate remedy where, as here, the plaintiff fails meet the
    2 requirements of Rule 8, which is “to ensure clear and concise pleading to expedite
    3 the progress of the litigation.” Proline Concrete Tools, Inc., 2008 WL 11286077, at
    4 *3. Brooks’s improper “group pleading” fails to provide fair notice of the allegations
    5 against Rockstar and therefore does not comply with Rule 8. See Four Navy Seals,
    6 413 F. Supp. 2d at 1147; see also Stroud v. Gore, No. 18-cv-515 JLS (MDD), 2018
    7 WL 6181474, at *4 (S.D. Cal. 2018) (explaining that a Rule 12(e) motion is
    8 appropriate recourse for a defendant who believes that the complaint fails to provide
    9 adequate notice of the claims asserted against it).
   10         Although Rule 12(e) motions are granted judiciously, courts regularly grant
   11 them when plaintiffs engage in “shotgun” pleading that makes it “virtually
   12 impossible to know which allegations of fact are intended to support which claim(s)
   13 for relief.” Anderson v. District Bd. of Trustees of Cent. Fla. Community College, 77
   14 F.3d 364, 366 (11th Cir. 1996); Proline Concrete Tools, Inc., 2008 WL 11286077, at
   15 *3 (granting 12(e) motion where complaint failed to provide sufficient notice of
   16 claim); Navy Seals, 413 F. Supp. 2d at 1147 (converting defendant’s Rule 8
   17 argument into a motion to compel a more definite statement under Rule 12(e) and
   18 granting same). A complaint is an improper “shotgun pleading if it ‘assert[s]
   19 multiple claims against multiple defendants without specifying which of the
   20 defendants are responsible for which acts or omissions, or which of the defendants
   21 the claim is brought against.’” Auto. Alignment & Body Serv., Inc. v. State Farm
   22 Mut. Auto. Ins. Co., 953 F.3d 707, 732 (11th Cir. 2020) (citation omitted); Tivoli
   23 LLC v. Sankey, No. SA CV 14-1285-DOC (JCGx), 2015 WL 12683801, at *3 (C.D.
   24 Cal. Feb. 3, 2015) (A complaint fails “to provide fair notice of alleged misconduct
   25 under Rule 8(a) ... where it fails to differentiate among defendants or specify which
   26 defendant is the subject of [the] Plaintiff’s various allegations.”).
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    1         The Federal Rules provide that “each defendant is entitled to know what he or
    2 she did that is asserted to be wrongful.” Bank of America, N.A. v. Knight, 725 F.3d
    3 815, 818 (7th Cir. 2013). Brooks’s Complaint, which is based on an undifferentiated
    4 “theory of collective responsibility,” falls well short of this mark, and must be
    5 dismissed. Id. Failing that, Brooks must be required to provide a more definite
    6 statement about Rockstar’s allegedly actionable conduct.
    7 IV.     CONCLUSION
    8         For the reasons set forth herein, Rockstar respectfully requests that the Court
    9 dismiss Brooks’s claims against Rockstar with prejudice and without leave to amend.
   10 Alternatively, Rockstar requests that the Court grant Rockstar’s motion for a more
   11 definite statement.
   12
   13 Dated: February 8, 2022
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